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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
ZOIGAPR-4 PM &: 12
USA, )
Plaintiff ) _ G \
v. )  CaseNo. 4 —-SSY (m
Emmanue| Gazmey.Sntirgs ) / +
Defendant , )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Coon nve/ Craze wn Lie tias O

Date: Ylu].zer J a“ UZ, Of L —

a ttorney's signature
ZDelwia LJ Ly Lesa UN Depep- 220 C

Printed name and bar number

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